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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                          CASE NO. 1:05-cr-00018-MP-AK

ISREAL TRAVIS BISHOP,

      Defendant.
___________________________/

                                         ORDER

       This matter is before the Court on Doc. 116, Motion to Continue Sentencing by Isreal

Travis Bishop. The motion is granted, and sentencing is hereby reset for Wednesday May 16,

2007 at 11:00 a.m.



       DONE AND ORDERED this 26th day of April, 2007


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
